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IN THE UNITED STATES DISTRICT COURT mm BY"" D'(I

FoR THE wEsTERN DIsTRIcT oF TENNESSEE 05 f
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ask U€ ns

BETTY SMITH' WBGFH;MMHW

  

Plaintiff,

'V'.

No. 04-2209 Ml/P
JO ANNE B. BARNI-IARTr
Commissioner of Social
Security,

Defendant.

 

REPORT AND RECOMMENDATION

 

Plaintiff Betty Smith appeals from a decision of the
Commissioner of Social Security (“Commissioner”), denying her
application for disability benefits under Title II of the Social
Security Act, 42 U.S.C. §§ 401 et seg. The appeal was referred to
the United States Magistrate Judge for a report and recommendation
pursuant to 28 U.S.C. § 636(b)(l). For the reasons below, it is
recommended that the Commissioner’s decision be affirmed, and
Smith’s appeal be denied.

I. PROPOSED FINDINGS OF FACT
A. Procedural Historv
Smith filed her application for supplemental security income

(“SSI”) on June 26, 2001, alleging disability since April 17, 2001.

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Her application was denied initially and on reconsideration on
September 27, 2001 and July 26, 2002, respectively. (R. at 28~31.)
On August 8, 2002, Smith appealed that decision by requesting a
hearing before an administrative law judge {“ALJ”). (R. at 44.)
After the ALJ conducted a hearing on July 10, 2003 in Dyersburg,
Tennessee, he issued a written ruling finding that Smith was not
disabled as defined by the Social Security'Act (“Act”). (R. at 15,
22.) Smith appealed the ALJ’s decision, and on January 29, 2004,
the Appeals Council of the Social Security Administration (“SSA”)
denied her request for review. (R. at 5-7.) The Appeals Council's
decision effectively made the ALJ's decision the final decision of
the Commissioner. Subsequently, Smith filed this timely appeal
seeking judicial review of the Commissioner's decision.
B. Factual Background

Smith was born on January' 30, 1943, and attended school
through the tenth grade. (R. at 371-72.) Her job history included
working at a Tupperware factory in the 1970s, as a janitor at an
elementary school for “a couple weeks” in 1997, and working for her
daughter in 1999 and 2000 doing household chores. (R. at 139-40,
372). Apparently, Smith quit each job due to increased depression
and nervous breakdowns. (R. at 139-40, 372, 380.) Smith claims
she is eligible for SSI disability benefits based on her physical
and mental impairments.

1. thsical Impairments

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The medical records indicate that Smith has had problems with
her back, hips, legs, and feet. Prior to 1999, Smith saw Dr.
Robert Harrington for routine gynecological exams and Dr. James
Smith for high blood pressure and hypothyroidism. After Smith
complained of leg and foot pains, Dr. Smith referred her to Dr.
Keith Nord, an orthopedist who first examined Smith on April 2,
1999. At that examination, Smith complained of pain in her feet
and left hip. She mentioned that she had bunions surgically
removed from both feet, and that she fractured her left knee in
1991. Dr. Nord noted that her left straight leg raise was
questionable, while her right straight leg test was negative.1 X-
rays taken of her lumbosacral spine were normal, and he recommended
an electromyograph (“EMG”) nerve conduction study. (R. at 177~78.)
The EMG revealed normal nerve conduction, but the needle
examination showed an equivocal abnormality in the L5 innervated
peroneus longus and. anterior~ tibialis of the left leg. This
abnormality could suggest, but is not diagnostic of, a left L5
radiculopathy. (R. at 166.)

After reviewing the EMG report, Dr. Nord referred Smith for an
MRI. The June 8, 1999 MRI revealed mild diffuse disc bulge and
disc desiccation at L2/3 and small anterior osteophytes at L1/2 and
L2/3. The remaining intervertebral disc showed normal contour and

signal. (R. at 165.) Smith had a follow-up appointment with Dr.

 

lPositive straight leg tests indicate pain.

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Nord on June 18, 1999. At that appointment, she demonstrated a
full range of motion in her neck and back, and the straight-leg
raise test was negative. Based on the EMG and MRI results, Dr.
Nord diagnosed Smith with mild degenerative disc disease of the
lumbosacral spine and L5 radiculopathy, and he noted problems with
her left knee after its previous fracture and with her feet post
bunionectomy. He recommended that Smith take Motrin for the pain
and Flexeril, a muscle relaxant. (R. at 174.)

Dr. Nord next examined Smith on October 29, 1999. Smith
complained of pain in her right knee and medial tenderness in her
lower back and tenderness along her bunions. In addition to the
previous diagnoses, Dr. Nord indicated that Smith had right knee
chondromalacia. He again recommended Motrin for the pain. (R. at
173.) Smith presented similar complaints to Dr. Nord on February
18, 2000. At that examination, Dr. Nord noted a questionable
straight leg raise, and made the same diagnosis as the October 29
diagnosis. He prescribed the muscle relaxant Parafon Forte. (R. at
172.)

On March 9, 2000, Smith saw Dr. Smith. Although the
appointment was primarily for a mental examination, Dr. Smith noted
the following:

Patient complains of back pain but she is depressed

w[ith] low self-esteem and absolutely is made very

uncomfortable with back pain when in reality, her back
problems are very little more than the usual changes that

would be associated w[ith] degenerative back changes over
a period of years.

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(R. at 223.)

Smith’s next follow-up visit with Dr. Nord occurred on April
28, 2000. At that time, she indicated that she had less pain in
her legs. (R. at 171.) She saw him again on July' 28, 2000.
Although she complained of pain in her right groin, Smith indicated
that her back pain was “not quite as bad as it was.” Dr. Nord
noted that she had a full range of motion in her hip and a negative
straight leg test. His diagnosis was the same as those he made on
previous occasions, except there was no mention of knee or feet
problems. He recommended physical therapy and prescribed Naprosyn
for pain. (R. at 170.)

On August 25, 2000, Dr. Nord examined Smith again. Smith
complained she could not walk and she gets a “catch in the hip
area.” (R. at 169.) Dr. Nord observed that her back was still
tender, but that she had minimal pain on internal and external hip
rotation. He also scheduled her to have another MRI. (R. at 169.)
The MRI showed no abnormalities. (R. at 164, 168.) At a September
1, 2000 follow-up visit, Smith indicated that her hip was feeling
better. Dr. Nord noted that she had mild tenderness in her left
hip and her right hip had a good range of motion. The doctor
prescribed Parafon Forte and Motrin. (R. at 168.)

The record indicates that Smith did not see Dr. Nord again
until January 12, 2001. At that time, she mentioned that she

suffered from pain in the groin. Dr. Nord noted that she had a

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full range of motion of her hips and the presence of lumbosacral
degenerative disc disease. He prescribed Vioxx for pain. (R. at
167.) The record does not contain any other exams or notes by Dr.
NOrd.

Smith met with Dr. Smith on March 17, 2001, to check on her
elevated blood pressure. She indicated that she still had aches in
her legs, but that she was not taking the Vioxx because of its
potential side effects. Dr. Smith informed her that she needed to
take the medicine as prescribed. (R. at 219.) Dr. Smith's notes
from exams on May 30 and June 22, 2001, make no reference to back,
hip, or leg pain. (R. at 217.)

Although there are other medical notes from Dr. Smith in the
record, the record indicates that Dr. Smith referred Smith to Dr.
Ramaiah Indudhara for urinary complaints. Dr. Indudhara examined
Smith on January 17, 2002, and diagnosed her with cystitis,
urethral stenosis, and nocturia. (R. at 297.) He modified his
diagnosis after an examination on April 16, 2002, to a voiding
dysfunction, and referred her for an intravenous pyelogram (an x-
ray of the urinary system). (R. at 296.) That study came back
normal. (R. at 294.)

In addition to the reports of these treating physicians, the
record includes two residual functional capacity assessments of
Smith’s physical abilities. On July 6, 2001, Reeta Misra, M.D.,

evaluated Smith, and concluded that she can occasionally lift up to

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50 pounds, can frequently lift up to 25 pounds, can stand and/or
walk 6 hours in an 8 hour workday, has no limitations in pushing
and/or pulling, and can frequently climb, balance, stoop, kneel,
crouch, and/or crawl. In reaching these conclusions, Dr. Misra
listed arthritis as the primary diagnosis and noted Smith's medical
background that included the diagnosis of a mild degenerative disc
disease and groin pain. (R. at 277-84.)

A second physical residual functional capacity assessment was
completed on July 25, 2002, by a medical consultant whose name only
appears in the record in an illegible signature. Like Dr. Misra's
evaluation, the second assessment indicates that Smith can
occasionally lift up to 50 pounds, can frequently lift up to 25
pounds, can stand and/or walk 6 hours in an 8 hour workday, has no
limitations in pushing and/or pulling, and can frequently climb,
balance, stoop, kneel, crouch, and/or crawl. It also suggests that
Smith should have readily accessible restroom facilities or use
protected undergarments. The medical consultant indicated a
primary' diagnosis of degenerative disc disease with secondary
diagnoses of a voiding dysfunction and rosacea. In addition, the
consultant noted Smith's complaints of arthritis, joint pain, high
blood pressure, groin pain, and hypothyroidism. (R. at 335-42.)

2. Mental Impairments

The earliest indications of mental impairments in the record

come from a letter dated June 16, 1989, from Dr. Parks Walker. In

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the letter, Dr. Walker stated that Smith had a severe depressive
disorder for the past nine years and that she had not responded
well to various forms of treatment. He also stated that “[d]ue to
her illness and personality problems, it is difficult for her to
conform her behavior in a socially acceptable way.” (R. at 252.)

The next substantial medical examination in the record came
from Pathways of Tennessee on October 18, 1999. At that time, Mary
Helen Wood, Ph.D., diagnosed Smith as bipolar, and she assessed

Smith’s Global Assessment of Functioning (“GAF”) at 65/70.2 No

 

2 GAF ratings are subjective determinations based on a scale

of 1 to 100 of “the clinician's judgment of the individual's
overall level of functioning.” American Psychiatric Association,
Diagnostic and Statistical Manual Mental of Mental Disorders (4th
ed. 2000) at 32 (“DSM-IV Manual”). Each range can be described as
follows: a GAF score in the range of 1-10 indicates “persistent
danger of severely hurting self or others OR persistent inability
to maintain minimal personal hygiene OR serious suicidal act with
clear expectation of death;” a GAF score in the range of 11-20
indicates “some danger of hurting self or others OR occasionally
fails to maintain minimal personal hygiene OR gross impairment in
communication;” a GAF score in the range of 21-30 indicates
“considerably influenced by delusions or hallucinations OR serious
impairment in communication or judgment OR inability to function in
almost all areas;” a GAF score in the range 31-40 indicates “some
impairment in reality testing or communication OR major impairment
in several areas such as work, school, family relations, judgment,
thinking or mood;” a GAF score in the range of 41-50 indicates
“serious symptoms (e.g., suicidal ideation, severe obsessional
rituals, frequent shoplifting) OR any serious impairment in social,
occupational, or school functioning (e.g., no friends, unable to
keep a job);” a GAF score in the range of 51-60 indicates “moderate
symptoms (e.g., flat affect and circumstantial speech, occasional
panic attacks) OR moderate difficulty in social, occupational, or

school functioning (e.g., few friends, conflicts with peers or
coworkers);” a GAF score in the range of 61-70 indicates “some mild
symptoms (e.g., depressed mood and mild insomnia) OR some

difficulty in social, occupational or school functioning (e.g.,
occasional truancy or theft within the household), but generally

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changes or significant comments were added to the Pathways report
on Smith's December 6, 1999 visit, during which the physician
assessed her GAF at 65/70.

During a progress visit at Pathways on February 21, 2000,
Smith reported feeling depressed at times. She also requested a
trial of Prozac. Apparently, Smith had taken Prozac in the past,
and saw positive results. Dr. Wood added Prozac to her regimen and
assessed her GAF at 70. (R. at 247.) Smith stopped taking Prozac
before her next Pathways appointment on May 8, 2000, because she
did not think it was working. Nevertheless, Dr. Wood apparently
saw improvement in Smith’s demeanor because she assigned a GAF
rating of 80/85 on that day. (R. at 247.)

Smith's next appointment at Pathways was on July 25, 2000.
She indicated that she had some highs and lows but felt stable
overall. The physician assessed her GAF at 80/85. (R. at 245.)
The same physician assigned Smith the same GAF rating at her next

appointment on September 13, 2000. Despite this high subjective

 

functioning pretty well, has some meaningful interpersonal
relationships;” a GAF score in the range of 71-80 indicates, “if
symptoms are present, they are transient and an expectable reaction
psychosocial stressors (e.g., difficulty concentrating after family
argument; no more than slight impairment in social, occupational,

or school functioning (e.g., temporarily falling behind in
schoolwork));” a GAF score in the range of 81-90 indicates “absent
or minimal symptoms (e.g., mild anxiety before an exam), good

functioning in all areas, interested and involved in a wide range
of activities, socially effective, generally satisfied with life,
no more than everyday problems or concerns.” ldL at 34 (some
parentheticals omitted).

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rating, the notes indicate that Smith. was concerned. with. her
daughter's decision to not let Smith continue to clean her
(daughter's) house. Smith informed the physician that she planned
on applying for disability when she lost her job with her daughter,
and she complained that she constantly was tired and had no energy.
(R. at 243.)

On October 10, 2000, Smith again expressed concerns about
losing her job with her daughter. She mentioned to the Pathways
physician that she often felt sad, and she believed that she felt
better when taking Prozac. The physician gave her a trial of
Prozac. (R. at 241.) At her November 7, 2000 appointment, Smith
indicated that she only took the Prozac for three or four days
because it made her nervous and her chest hurt. The physician
noted Smith’s mental status as stable, and added Zoloft to her
regimen. (R. at 240.) Smith stopped taking Zoloft after two days
because it made her feel sick. (R. at 239.)

Progress notes from Pathways in March and April 2001 indicate
that Smith expressed heightened irritability and concern that her
family neglects her. She also mentioned that she had thoughts of
suicide, but she never acted on those thoughts. (R. at 237, 238.)
Progress notes from May 2001 indicate that Smith was admitted to
Pathways for inpatient treatment for ten days. Prior to being
admitted, Smith expressed that she felt “more depressed all the

time” and that she had daily crying spells. (R. at 235.) After

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being discharged, Smith met with a Pathways physician on May 30,
2001, at which time she indicated that was feeling better. The
physician noted that Smith was taking her prescriptions.

However, on June 2, 2001, a Pathways therapist indicated that
Smith was no longer compliant with her medications. Smith said
that the medications were killing her. Lisa Oliver, a licensed
nurse at Pathways, assigned her a GAF rating of 55. (R. at 360.)
Three days later, on June 5, 2001, Smith called Pathways seeking an
increase in medication because she was not getting any better and
she was having trouble sleeping. (R. at 233.)

Smith saw a physician on June 12, 2001, and complained again
that “these meds are killing me.” At that appointment, Smith
indicated that she felt tired, weak, horrible, nervous, and
depressed. The physician prescribed Paxil.

The next significant mental treatment for Smith occurred in
October 2001, at which time she was admitted to Lakeside Behavioral
Health Systen1 facility. Smith indicated she was experiencing
increased depression, hopelessness, and suicidal ideation. She was
admitted with a GAF rating of 10. (R. at 287.) During the
hospitalization, she was prescribed different medications, many of
which were discontinued or changed at Smith's request. (R. at 289.)
Smith was discharged on October 16, 2001, after she was “pushing
for discharge.” The discharge summary states, “She still reported

that she was not going to take any medications and denied any

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suicidal ideation or thoughts.” (R. at 290.) Smith was discharged
with a GAF rating of 50 and was instructed to follow-up at
Pathways. (R. at 287, 290.) On November 28, 2001, Smith met with
a physician at Pathways, and indicated that she was suffering from
anxiety, nervousness, and interrupted sleep. She denied, however,
depression. (R. at 359.)

The subsequent progress notes from Pathways over the next six
months suggest improvement in Smith's mental health. For example,
on February 4, 2002, Smith reported that her mood was good and that
she was taking her medications. (R. at 358.) On May 30, 2002, she
said she was “doing pretty well, I guess,” but she did complain of
sexual side effects from Prozac. (R. at 357.) On June 5, 2002,
Smith indicated she was doing well, and she was assigned a GAF
rating of 75. (R. at 356.)

Between September and December 2002, staff members at Pathways
assigned GAF ratings on three occasions ranging between 50 and 60.
(R. at 351-52, 355.) During that time period, she requested and
resumed taking Prozac, which she reported helped her. (R. at 352,
354.) In April 2003, she received GAF ratings between 40 and 50 on
three occasions. (R. at 348-350.) Nevertheless, she indicated she
was feeling better while on Prozac in May and June 2003. (R. at
346-47.) The final Pathways progress note in the record shows
Smith receiving a GAF rating of 55 on June 27, 2003. (R. at 345.)

There are four assessments in the record of Smith's ability to

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do work-related activities in light of her history of mental
health. On August 8, 2001, Jim Jackson, M.S., and Rebecca Sweeney,
Ph.D., concluded that “Smith can travel independently. Her memory
is reduced and she has difficulty with concentration. She appears
to be able to relate effectively with others.” (R. at 256-59.)

Dan Emerson, M.S., evaluated Smith on June 27, 2002. Emerson
found no significant limitation in Smith’s ability to understand,
remember, concentrate, or adapt to changes in the work setting. He
found a moderate limitation on her ability to interact with others
in light of her depression, anxiety, and panic attacks. (R. at
316.) Similarly, Dr. Kourany found that Smith had a nwderate
limitation on her social interaction skills during his July 19,
2002 evaluation. Dr. Kourany also found Smith’s restriction of
daily living activities and difficulties in maintaining
concentration, persistence, or pace to be moderately limited. (R.
at 328.) Dr. Kourany concluded. that Smith. would. be able to
complete and sustain persistence on simple tasks and would be able
to accept supportive criticism from supervisors, but that she would
interact in a distant way with the public and would need assistance
setting realistic goals. (R. at 334.)

The most recent assessment of Smith’s mental ability to work
was completed by Romona Scarborough, a nurse practitioner from
Pathways. Unlike the previous evaluators, Scarborough presented a

somewhat negative outlook on Smith’s ability to work. She

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indicated that Smith would be seriously limited or have no useful
ability to function in understanding and memory, sustained
concentration and persistence, social interaction, and adaptation.
Scarborough concluded by stating,
Although Betty is punctual and generally compliant with
appointments/medication, she is limited in her capacity
to handle [the] stress of therapy, immediate change,
maintain motivation, and accept feedback without being
depressed, overly conscious, and withdrawing socially.
I do not believe she can fulfill job duties in a
consistently responsible, dependable . . . manner.
(R. at 343-44.) The assessment form states, in all capital
letters, that “It is important that you relate particular
medical findings to any assessed limitation in capacity; the
usefulness of your assessment depends on the extent to which
you do this.” Scarborough did not, however, identify the
particular medical findings that support her assessment.
C. Hearing Testimonv
At the administrative hearing, Smith testified that she had
back pain, but that it has gotten better. She also stated that her
feet are uncomfortable due to bunions. She takes Tylenol to
alleviate some of the pain because other medicines “don’t agree”
with her. (R. at 373.) Smith also testified that she wore a back
brace while working for her daughter, but she did not find it
necessary to wear it anymore because her back has gotten better.

Regarding her mental health, Smith testified that she has had

problems with depression for a long time, She briefly discussed

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some of her treatment for depression. (R. at 374)

Smith also described her daily activities. She lives alone
and is able to take care of herself. On a bad day, Smith sits and
cries and watches televison. On a good day, she walks her dog
multiple times a day and does light housework. (R. at 375.)
Although Smith has a driver’s license, she has not driven a car for
six or seven months due to anxiety. (R. at 376.) When she goes to
the store, she always goes with someone else. (R. at 386.)

Smith's ex-husband, James Smith,3 also testified. They were
married from 1959 until their divorce in 1996, but he sees her on
a daily basis. He testified that Smith had depression during most
of their marriage, and that the depression has gotten progressively
worse. (R. at 393.) He also indicated that Smith does not like to
be around others and even avoids holiday functions with family.
(R. at 396.)

D. The ALJ's Decision

Using the five-step disability analysis,4 the ALJ found at the

 

3Smith's ex-husband is not the same as Dr. James Smith, the
physician who monitored her high blood pressure and
hypothyroidism.

4 Entitlement to Social Security benefits is determined by a
five-step sequential analysis set forth in the Social Security
Regulations. 20 C.F.R. §§ 404.1520, 416.920. First, the claimant
must not be engaged in substantial gainful activity for a period of
not less than twelve months. 20 C.F.R. § 404.1520(c). Second, a
finding' must be made that the claimant suffers fron\ a severe
impairment. ld; Third, the ALJ determines whether the impairment
meets or equals the severity criteria set forth in the Listing of
Impairments contained in the Social Security Regulations. 20

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first step in the analysis that Smith had not engaged in
substantial gainful activity since her alleged disability onset
date. At the second step, the ALJ determined that the medical
evidence in the record establishes that Smith has mild degenerative
disc disease of the lumbar spine and bipolar disorder, which
produce more than a minimal effect on the ability to perform work
activity. At the third step of the analysis, the ALJ found that
Smith did not have an impairment or combination of impairments that
would meet or equal the level of severity described for any listed
impairment contained in 20 C.F.R. Part 404, Subpart P, Appendix 1
(R. at 16). The ALJ stated that the ultimate issue was whether
Smith could perform her past relevant work, which in turn required
an assessment of her residual functional capacity. Concerning
Smith’s physical limitations, the ALJ found that she could lift and
carry 50 pounds occasionally and 25 pounds frequently, and stand,
walk, or sit six hours in an eight hour workday. He based this
finding on the state agency medical consultants' residual

assessments. (R. at 20.) Concerning her mental limitations, the

 

C.F.R. §§ 404.l520(d), 404.1525, 404.1526. If the impairment
satisfies the criteria for a listed impairment, the claimant is
considered to be disabled. If the claimant's impairment does not
meet or equal a listed impairment, the ALJ must undertake the
fourth step in the analysis and determine whether the claimant has
the residual functional capacity to return to any past relevant
work. 20 C.F.R. § 404.1520(e). If the ALJ finds the claimant
unable to perform past relevant work, then, at the fifth step, the
ALJ must determine whether the claimant can perform other work
which exists in significant numbers in the national economy. 20
C.F.R. § 404.1520(f).

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ALJ found that Smith had a severe mental impairment, but that “she
remains mentally capable of understanding, remembering, and
carrying out simple instructions; making simple work-related
decisions; interacting appropriately with supervisors and
coworkers, although she should avoid work requiring interaction
with the general public; and of performing unskilled, routine,
repetitive work tasks, performed in relative isolation.” (lg¢)

In reaching this conclusion regarding Smith’s mental
condition, the ALJ discredited the assessment of Ramona
Scarborough. He stated that her opinion was against the “consensus
of the opinion evidence” and that the “assessment appears to be far
too restrictive in light of the objective treatment records showing
a GAF of 55 to 60 as recently as June 2003, the same month that the
Medical Assessment form was completed.” (R. at 20.) The ALJ also
discredited Smith’s testimony at the hearing because her subjective
complaints and limitations were in conflict with the objective
medical records. He also noted Smith’s inconsistent statements
regarding the usefulness of her medications. (R. at 19.)

Given these limitations, the ALJ concluded that Smith was
capable of returning to her previous work as aa day worker in
domestic service. He stated that the “exertional and non-
exertional requirements of that job as it is generally performed in
the economy are consistent with the claimant’s residual functional

capacity within the meaning of the Act.” (R. at 21.) Because he

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found that Smith could perform previous work, the ALJ did not
discuss the fifth step of the disability analysis. 20 C.F.R.
§ 404.1520 n

II. PROPOSED CONCLUSIONS OF LAW

Section 205(g), 42 U.S.C. § 405(g), of the Social Security.Act
provides for judicial review of a “final decision” of the
Commissioner. Section 1631(c)(3), 42 U.S.C. § 1383(c)(3), of the
Act provides for judicial review to the same extent as the
Commissioner's final determination under Section 205.

A court's review is limited to determining whether or not
there is substantial evidence to support the Commissioner’s
decision, 42 U.S.C. § 405(g); Drummond v. Comm'r of Soc. Sec., 126
F.3d 837, 840 (6th Cir. 1997), and whether the correct legal
standards were applied. Landsaw v. Sec’v of Health & Human Servs.,
803 F.2d 211, 213 (6th Cir. 1986). When the record contains
substantial evidence to support the Commissioner's decision, the

decision must be affirmed. Stanlev v. Sec’v of Health & Human

Servs., 39 F.3d 115, 117 (6th Cir. 1994) (citing Richardson v.
Perales, 402 U.S. 389, 401 (1971)). “Substantial evidence” is

“such relevant evidence as a reasonable mind might accept as

adequate to support a conclusion.” Richardson, 402 U.S. at 401

 

(quoting Consolidated Edison Co. v. NLRB, 305 U.S. 197, 229
(1938)). In determining whether substantial evidence exists, the

reviewing court must examine the evidence in the record taken as a

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whole and must take into account whatever in the record fairly
detracts from its weight. Abbott v. Sullivan, 905 F.2d 918, 923
(6th Cir. 1990). When substantial evidence supports the
Commissioner's determination, it is conclusive, even if substantial
evidence also supports the opposite conclusion. felisky v. Bowen,
35 F.3d 1027, 1035 (6th Cir. 1994). Similarly, the court may not
try the case de novo, resolve conflicts in the evidence, or decide
questions of credibility. Cutlip v. Sec’v of Health & Human
Servs., 25 F.3d 284, 286 (6th Cir. 1994).

Smith contends that the ALJ‘s findings regarding her residual
functional capacity and her past relevant work as a housekeeper are
not supported by substantial evidence. She claims that the medical
record does not support the ALJ's conclusion that she can perform
a job that requires lifting 50 pounds occasionally and 25 pounds
frequently and that her mental impairments do not seriously
interfere with her ability to meet the demands of simple,
repetitive work.

With respect to Smith's physical limitations, this court
submits that substantial evidence in the record supports the ALJ's
finding that she can lift 50 pounds occasionally and 25 pounds
frequently, and stand, walk, or sit six hours in an eight hour
workday. The two physical residual functional capacity
assessments. both of which took into consideration Smith's

degenerative disc disease and arthritis, directly support the ALJ's

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conclusions. Indeed, there is nothing in the medical record that
directly contradicts the ALJ’s finding on this point. Moreover,
Smith testified at the hearing that her back was well enough that
she did not feel the need to wear a back brace.

Similarly, the court submits that there is substantial
evidence in the record to support the ALJ's conclusion that Smith
has the mental ability to meet the demands of simple, repetitive
work in a relatively isolated environment. Although each state
agency psychological consultant indicated some limitations in
Smith's mental ability to work, none of them considered her
limitations to be anything more than moderate. Additionally, the
vast majority of times an examiner evaluated Smith and assigned her
a GAF rating, the ratings were almost always between 55 to 85.
Although Smith was rated at 10, 40, and 45 on three separate
occasions, these GAF ratings were the rare exceptions. In any
event, low GAF scores do not necessarily indicate problems related
to a person's ability to work. §eg DSM-IV Manual, at 32-33
(indicating that a GAF rating can mean the symptom severity or the
level of functioning); Zacharv v. Barnhart, 94 Fed. Appx. 817, 819
(10th Cir. Apr. 14, 2004)(unpublished)(finding that a GAF score of
45 that does not have further‘ explanation. does not support a
conclusion that impairment seriously interferes with a person's
ability to work).

The court further submits that substantial evidence supports

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the ALJ’s decision to discredit Scarborough's evaluation, even if
the court were to assume, arguendo, that Scarborough is a treating
physician.5 As a general rule, “the medical opinion of a treating
physician must be accorded greater weight than those of physicians
employed by the government to defend against a disability claim.”
Hall v. Bowen, 837 F.2d 272, 276 (6th Cir. 1988)(citations

omitted); see also 20 C.F.R. § 404.1527(d)(2). The opinion of a

 

treating physician, however, is entitled to greater weight only if
it is based on objective medical findings. Houston v. Sec'v of
Health & Human Servs., 736 F.2d 365, 367 (6th Cir. 1984), and is
not contradicted by substantial evidence to the contrary. Hardaway
v. Sec’v of Health & Human Servs., 823 F.2d 922, 927 (6th Cir.
1987)(per curiam). Thus, the Commissioner is not bound by the
opinion of a treating physician when the opinion is contradicted by

objective medical evidence. Cohen. v. Sec'v' of Health. & Human

 

5It is unclear what role Scarborough played in the treatment
of Smith. It appears that Scarborough is somehow affiliated with
Pathways, as her evaluation is found in the record in a group of
materials from that institution. The ALJ noted that she was a
psychiatric nurse practitioner, and Smith indicates that
Scarborough was the “treating source at Pathways.” (Smith's
Brief in Support at 12.) Nevertheless, the court has not found
Scarborough's name on any other medical record, and therefore, it
is unclear whether she participated in Smith's treatment or
merely had access to her records at Pathways. §g§ 20 C.F.R. §
404.1502 (defining treating source as “your own physician,
psychologist, or other acceptable medical source who provides
you, or has provided you, with medical treatment or evaluation
and who has, or has had, an ongoing treatment relationship with
you” and a nonexamining source as “a physician, psychologist, or
other acceptable medical source who has not examined you but
provides a medical or other opinion in your case.”).

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Servs., 964 F.2d 524, 528 (6th Cir. 1992).

In Martin v. Comm'r, Social Sec. Admin., 61 Fed.Appx. 191 (6th
Cir. Apr. 9, 2003)(unpublished), the Court of Appeals for the Sixth
Circuit considered and rejected the ALJ's reliance on plaintiff’s
GAF ratings (ranging from 58 to 70) and daily activity logs to
contradict a treating physician's opinions. The court stated that
the treating physician presented a documented, reasoned narrative
opinion that “specifically described conditions and effects which,
if credited, demonstrate that [the plaintiff] suffers from.a listed
impairment under Listing 12.04 of 20 C.F.R., Part 404, Subpart P,
Appendix 1.” ld¢ at 200. The court also stated that “[i]t is
clear that [the treating physician] based his opinion on a variety
of factors, only one of which was the GAF scoring.” ld; In the
present case, however, Scarborough provided no bases whatsoever for
her opinion - even though the assessment form instructed to do so.
Her one paragraph assessment does not describe in any detail the
medical diagnoses or bases that support her assessment. Moreover,
as set forth in detail above, there is substantial evidence that
contradicts Scarborough's assessment.

Smith's final argument is that the ALJ's finding that she had
past relevant work as a housekeeper is not supported by substantial
evidence. Specifically, she argues that her job should not be
considered relevant work because it was within the sheltered

environment of her immediate family. Regulations define past

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relevant work as “work that you have done within the past 15 years,
that was substantial gainful activity, and that lasted long enough
for you to learn to do it.” 20 C.F.R. § 404.1560(b)(1).
“Substantial work activity is work activity that involves doing
significant physical or mental activities. Your work, may' be
substantial even if it is done on a part-time basis or if you do

less, get paid less, or have less responsibility than when you

worked before.” Id. at § 404.1572(a). “Gainful work activity is
work activity that you do for pay or profit. Work activity is

gainful if it is the kind of work usually done for pay or profitl
whether or not a profit is realized.” ld; at § 404.1572(b). The
court submits that Smith's housekeeping duties for her daughter
involved physical and/or mental duties for which she was earning a
living, and therefore, her job meets these standards.
I I I . CONCLUSION

Accordingly, it is recommended that the court affirm the

decision of the ALJ and deny Smith's appeal.

Respectfully submitted.

 

'I`U M. PHAM
United States Magistrate Judge

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Date 0

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Honorable J on McCalla
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